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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:15-cr-00120
                                    )
v.                                  )                  Honorable Gordon J. Quist
                                    )
HENRY HALL,                         )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

       Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

April 8, 2016, after receiving the written consent of defendant and all counsel. At the hearing,

defendant Henry Hall entered a plea of guilty to Count 1 of the Superseding Indictment in exchange

for the undertakings made by the government in the written plea agreement. In Count 1 of the

Superseding Indictment, defendant is charged with conspiracy to distribute heroin and cocaine base

in violation of 21 U.S.C. Sections 846, 841(a)(1), and 841(b)(1)(C). On the basis of the record made

at the hearing, I find that defendant is fully capable and competent to enter an informed plea; that

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

that it is made voluntarily and free from any force, threats, or promises, apart from the promises in

the plea agreement; that the defendant understands the nature of the charge and penalties provided

by law; and that the plea has a sufficient basis in fact.
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       Accordingly, I recommend that defendant's plea of guilty to Count 1 of the Superseding

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: April 8, 2016                            /s/ Phillip J. Green
                                              PHILLIP J. GREEN
                                              United States Magistrate Judge




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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